Case 3:24-cv-00740-AN   Document 16-4   Filed 06/21/24   Page 1 of 2




EXHIBIT D
               Case 3:24-cv-00740-AN     Document 16-4            Filed 06/21/24         Page 2 of 2




Reg. No. 5,076,084            Aviator Nation, Inc. (CALIFORNIA CORPORATION)
                              1224 Abbot Kinney Blvd.
Registered Nov. 08, 2016      Venice, CA 90291

                              CLASS 25: Hats; sweat jackets; sweat shirts; sweat suits; T-shirts; jackets; pants; shirts;
Int. Cl.: 25                  shoes; shorts
Trademark                     FIRST USE 5-1-2006; IN COMMERCE 12-31-2007

Principal Register            The color(s) blue, red, dark yellow, medium yellow and light yellow are claimed as a feature
                              of the mark.

                              The mark consists of an incomplete rounded rectangle, with the lower right portion of the
                              rectangle missing. Inside the rectangle shape are five bands of color, beginning with blue at
                              the top, followed by red, dark yellow, medium yellow and light yellow.

                              SER. NO. 86-527,597, FILED 02-06-2015
                              LAURA DAWN GOLDEN, EXAMINING ATTORNEY




                                                                                                       Exhibit D - Page 1
